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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                     CASE NO. 17-24103-CIV-COOKE/GOODMAN

  TIKD SERVICES LLC,

        Plaintiff,

  v.

  THE FLORIDA BAR, et al.,

        Defendants.
  ________________________ /

                     POST-HEARING ADMINISTRATIVE ORDER

        On January 9, 2018, the Undersigned held a hearing [ECF No. 57] on the Florida

  Bar defendants’ motion to disqualify attorneys Ramón A. Abadin and Peter D.

  Kennedy. [ECF No. 18]. At the hearing, the Undersigned ordered as follows:

        By Tuesday, January 16, 2018, 1 the Florida Bar defendants shall file under seal on

  CM/ECF copies of all privileged materials they allege Mr. Abadin received in

  connection with the factual and legal issues involved in this case and related to the UPL

  proceedings involving TIKD Services LLC. By that same deadline, the Florida Bar

  defendants shall also file a public notice on CM/ECF, listing the documents that they

  will file under seal and setting forth the same type of limited identifying information


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        At the hearing, the Undersigned set Monday as the deadline, but that day is
  Martin Luther King Day, a federal holiday.
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  typically included in a privilege log. Also by January 16, the Florida Bar defendants

  shall deliver a courtesy copy of both filings to chambers.

         Likewise by January 16, 2018, the parties shall file on CM/ECF a memorandum of

  law of no more than 10 doubled-spaced pages (excluding certificate of service and

  signature block). The memoranda is limited to discussing whether the Florida Bar

  consenting to Mr. Abadin representing TIKD in UPL proceedings before it undermines

  the disqualification motion in this case under the concepts of waiver, estoppel, laches, or

  fundamental notions of fairness. The memoranda must also discuss the case of Cox v.

  American Cast Iron Pipe Co., 847 F.2d 725 (11th Cir. 1988), and may discuss the

  significance, if any, of Mr. Harkness’s reaction to Mr. Abadin’s involvement in this case.

         Lastly, as soon as practicable, the parties shall order the transcript of the January

  9, 2018 hearing on an expedited basis to ensure that it is filed on CM/ECF. The parties

  shall share the court-reporting cost. 2

         DONE AND ORDERED in Chambers, at Miami, Florida, on January 9, 2018.




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         The Undersigned did not give this last instruction at the hearing, but does so in
  this Order upon further reflection.
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  Copies furnished to:
  The Honorable Marcia G. Cooke
  All counsel of record




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